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                    IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

    IN RE: SHERYLL ARRAH                  §
    19218 W. AUSTIN BAYOU CT.             §
    CYPRESS,TX 77433-0012                 §    CHAPTER 13
                                          §
                                          §   CASE NO. 23-34605
                                          §
                                          §

                       ORDER ON MOTION TO SELL REAL PROPERTY

AFTER REVIEW AND CONSIDERATION OF DEBTOR’S MOTION TO SELL REAL PROPERTY,
THE COURT FINDS THAT :

1. The Debtor(s) propose to sell certain real property commonly

known as 24327 PALO DURA DR, HOCKLEY, TX 77447(“Property”)

[and as further described on the legal description attached hereto].

2. The proposed sale price is $195,000.

3. The buyer(s) is/are Montage Community Services. The

buyer(s) are not related to the Debtor(s) by blood, marriage or business

association.

4. The following sales cost, liens of record, homestead exemption and

other charges and expenses related to the sale, are to be paid out of the sale

proceeds [at the time of closing] in the estimated amounts as indicated:

(a) $__________________ as a realtor commission payable to

_________________________________________________;

(b) Recorded liens of record in the amounts as indicated:

(1) $______________ to ______________________________

(

(c) Other charges and expenses in the amounts as indicated:
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(1) $______________ to ______________________________

and

(c) $________________ as a homestead exemption payable to the

Debtor(s); and

5. The net sale proceeds, after payment of the actual amounts charged

to the items set forth in paragraph 4 above [and payment of other liens of record,

taxes, and other costs and fees at closing], shall be paid to the Trustee in addition

to the plan payments and shall not alter or reduce the periodic payments due

under the plan, nor shall the duration of the plan be shortened, except to the

extent such net sale proceeds would result in payment in full to all creditors and

administrative costs.

6. The amount received by the Trustee shall be disbursed as follows:

(a) First, to administrative claimants and costs whose efforts

and actions resulted in the sale benefiting the estate;

(b) Second, to unsecured and under-secured creditors pro-rata

pursuant to the priorities set forth in 11 U.S.C. Sec 726;

(c) Third, to the secured creditors, pro-rata; and

(d) Fourth, after payment of all remaining claims,

administrative costs and expenses of the estate, the balance shall be

refunded to the Debtor(s).

7. The Debtor(s) attaches herewith copy of the sales contract or other

agreement of sale setting forth the terms of the sale.



PRAYER: All relief available by law and equity



Respectfully submitted,
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